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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

MARVIN L. RAINER,
Plaintiff,
vs. No. 04-2296-D/P

BRUCE WESTBROOKS, et al.,

Defendants.

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ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
ORDER OF DISMISSAL
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Marvin L. Rainer, Tennessee Department of
Correction (“TDOC”) prisoner number 332114, an inmate at the West
Tennessee State Penitentiary (“WTSP”) in Henninq, Tennessee, filed
a pro se complaint pursuant to 42 U.S.C. § l983 on April 26, 2004
against former WTSP warden Bruce Westbrooks, Henry Steward, Scott
Wilson, Charles Gaskins, Phillip Glenn, Stan Paige, Officer Brown,
Vickie Kirby, Captain Lott, Michael Ottinger, Nadine Kiestler, Ross
Bates, and Bob Cabay. The Court issued an order on May 19, 2004

tnat, inter alia, directed the Clerk to issue process for, and the

 

marshal to effect service on, the defendants.l On March ll, 2005,

defendants Ottinger, Kiestler, Bates, Cabay, Steward, Wilson,

 

To date, defendants Westbrooks, Brown, and Lott have not been served.

This document entered on the docket sheet in compliance

wich Fiu|e 58 and/or 79(3) FHCP on 5 ’/69 'M 5/

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Gaskin, Glenn, Paige, and Kirby filed a motion for summary
judgment, supported by a legal memorandum, a statement of
undisputed facts, and certain documents. On March 30, 2005,
plaintiff filed a response in opposition to that motion, supported
by his factual declaration.2 Plaintiff also filed a motion seeking
appointment of counsel on March l, 2005. As this case is being
dismissed, the motion for appointment of counsel is DENIED.

As a preliminary matter, plaintiff testified at his
deposition that he wished to dismiss his claims against defendants
Steward, Gaskins, and_ Bates. Memorandun1 of Law in Support of
Defendants' Motion for Summary Judgment, filed Mar. ll, 2005 (“D.
03/11/05 Br.”), at l-2. The plaintiff has not responded to this
aspect of the defendants’ motion, which is supported by excerpts
from the plaintiff's deposition. Accordingly, the Court DISMISSES
the complaint, pursuant to Fed. R. Civ. P. 4l(a)(2), with
prejudice, with respect to defendants Steward, Gaskins, and Bates.3

Summary judgment is appropriate “if . . . there is no
genuine issue as to any material fact and . . . the moving party is
entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). As

the Supreme Court explained:

 

2 Plaintiff also filed his own summary judgment motion on March 30,

2005, which the Court denied as untimely in a separate order. The declaration
submitted by the plaintiff in support of his summary judgment motion will be
considered, to the extent relevant, in connection with this motion.

3 A dismissal under Rule 4l(a)(2) is without prejudice unless the
dismissal order specifies otherwise. This case was pending for almost a year when
the summary judgment motion was filed and the trial date is rapidly approaching.
Under these circumstances, dismissal with prejudice is appropriate.

2

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In our view, the plain language of Rule 56(c) mandates
the entry of summary judgment, after adequate time for
discovery and upon motion, against a party who fails to
make a showing sufficient to establish the existence of
an element essential to that party’s case, and on which
that party will bear the burden of proof at trial. ln
such a situation, there can be “no genuine issue as to
any material fact,” since a complete failure of proof
concerning an essential element of the nonmoving party's
case necessarily renders all other facts immaterial. The
moving party is “entitled to judgment as a matter of law”
because the nonmoving party has failed to make a
sufficient showing on an essential element of [his] case
with respect to which [he] has the burden of proof.
Celotex Corp. v. Catrett, 47? U.S. 3l7, 322-23 (1986) (citation
omitted).

Under Fed. R. Civ. P. 56(e), “[wlhen a motion for summary
judgment is made and supported as provided in this rule, an adverse
party may not rest upon the mere allegations or denials of the
adverse party’s pleading, but the adverse party's response, by
affidavits or as otherwise provided in this rule, must set forth
specific facts showing that there is a genuine issue for trial.” ln
considering a motion for summary judgment, “the evidence as well as
the inferences drawn therefrom must be read in the light most
favorable to the party opposing the motion.” Kochins v. Linden-
Alimakl lnc., 799 F.2d 1128, ll33 (6th Cir. 1986); see also
Matsushita Elec. lndus. Co. v. Zenith Radio Corp., 475 U.S. 574,

587-88 (1986) (same).4

 

4 Rule 56(e) sets forth in detail the evidentiary requirements
applicable to a summary judgment motion:

Supporting and opposing affidavits shall be made on personal
(continued...)

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A genuine issue of material fact exists “if the evidence
[presented by the non~moving party] is such that a reasonable jury
could return a verdict for the non“moving party.” Anderson v.
Libertv Lobbv, lnc., 477 U.S. 242, 248 (1986); see also id; at 252
(“The mere existence of a scintilla of evidence in support of the
plaintiff’s position will be insufficient; there must be evidence
on which the jury could reasonably find for the plaintiff. The
judge’s inquiry, therefore, unavoidably asks whether reasonable
jurors could find by a preponderance of the evidence that the
plaintiff is entitled to a verdict[.]”); Matsushita, 475 U.S. at
586 (“When the moving party has carried its burden under Rule
56(c), its opponent must do more than simply show that there is
some metaphysical doubt as to the material facts.”) (footnote
omitted). The Court's function is not to weigh the evidence, judge
credibility, or in any way determine the truth of the matter,
however. Libert Lobb , 477 U.S. at 249. Rather, the inquiry is
“whether the evidence presents a sufficient disagreement to require
submission to a jury or whether it is so one-sided that one party

must prevail as a matter of law.” Id. at 251-52.

 

4 (...continued)

knowledge, shall set forth such facts as would be admissible in
evidence, and shall show affirmatively that the affiant is competent
to testify as to all the matters stated therein. Sworn or certified
copies of all papers or parts thereof referred to in an affidavit
shall be attached thereto or served therewith. The court may permit
affidavits to be supplemented or opposed by depositions, answers to
interrogatories, or further affidavits.

4

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ln this case, the facts appear to be as follows:5

l. Defendant Scott Wilson is an employee of the
TDOC and is a Lieutenant at the WTSP. (Affidavit of Scott
Wilson, sworn to on Mar. 8, 2005 (“Wilson Aff.”), I l.)6

2. On January 31, 2003, Officer Mike Brown7 and
Lieutenant Wilson entered the inmate Marvin Rainer’s cell
at WTSP to perform a search for security purposes. Inmate
Rainer was told he would be strip searched, and he put
his hand in his pocket and then dropped an object behind
his bed. During the cell search, two bags of a white,
rocky substance and a cell phone were found. (Wilson
Aff., i 2.)B

3. lnmate Rainer and his cellmate were charged
with disciplinary offenses of possession of drugs and

 

5 The Court has deviated, fronl the statement of undisputed facts
submitted by the defendants because it fails to include all relevant factual
matters, it is not presented in chronological order, and it presents as
undisputed matters that plainly are not.

Moreover, the Court's task is complicated by plaintiff's failure to
comply with Local Rule 7.2(d)(3), which provides that “the opponent of a motion
for summary judgment who disputes any of the material facts upon which the
proponent has relied pursuant to subsection (2) above shall respond to the
proponent's numbered.designations, using the corresponding serial numbering, both
in the response and by affixing to the response copies of the precise portions
of the record relied upon to evidence the opponent’s contention that the
proponent's designated material facts are at issue.” Nonetheless, the Court has
attempted, by examining the text of the plaintiff's response and the documents
submitted with the complaint, to discern the extent to which plaintiff is able
to dispute the proposed factual findings submitted by defendants.

6 The Wilson Affidavit is Exhibit 1 to the Notice of Filingr which was
submitted by the defendants on March ll, 2005.

7 Brown was named as a defendant in this action, but service has not

been effected on him.

9 Defendant Wilson states in his affidavit that, after plaintiff
dropped the object behind his bed, “I immediately retrieved the item which was
a bag of white rocky substance. During the cell search, another bag of the
substance and a cell phone were found.” Wilson Aff., L 2. The plaintiff's version
of events is somewhat different. In the declaration he submitted in opposition
to the motion for summary judgment, which was executed in accordance with 28
U.S.C. § 1746, plaintiff states that he was using the cell phone when his
cellmate said there was an officer at the door, at which time he put the cell
phone in his pocket and later took it out and dropped it under the bed.
Declaration of Marvin Rainer {“Rainer Opposition Decl.”), filed Mar. 30, 2003,
at T 4. Plaintiff also states that defendant Wilson’s affidavit does not
correctly list his cell assignment at the time of the incident in question. ld;

5

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contraband, the cell phone. (Wilson Aff., i 3.) According
to the documents attached to the plaintiff's complaint,
plaintiff's cellmate was Reginald Brown, TDOC number
ll9895. Brown was in the cell with plaintiff during the
search that gave rise to this lawsuit. The disciplinary
charge issued to the plaintiff concerning the drugs is
referred to in the documentation as number 00518156. The
contraband charge is number 00518144. Plaintiff
apparently entered a guilty plea to the contraband
charge, which was not the subject of any disciplinary
hearing. Rainer Opposition Decl., I 5.

4. The white rocky substance was tested by the
Tennessee Bureau of lnvestigation lab and found to be
cocaine. (Wilson Aff., I 4.)

5. Defendant Vickie Kirby is a Correctional
Sergeant at WTSP in Henning, Tennessee. {Affidavit of
Vickie Kirby, sworn to on Mar. 8, 2005 (“Kirby Aff.”, I
l-))9

6. On or about February 4, 2003, the first
disciplinary hearing was held for inmate Marvin Rainer’s
disciplinary offenses of possession of drugs and
contraband.l0 Vickie Kirby was the disciplinary board
chairman, and the staff board members were Nadine
Kiestler and Stan Paige. The reporting official,
Lieutenant Scott Wilson, testified that he saw inmate
Rainer put his hand in his pocket and throw something
behind the bed. Lt. Wilson further stated that he
retrieved what appeared.to be cocaine from behind the bed
where inmate Rainer had thrown it. After being tested,

 

9 A.copy of the Kirby Affidavit is attached as Exhibit 2 to the Notice
of Filing.

w The date of the hearing may be disputed, although that dispute is not
material. Kirby’s affidavit states that the first hearing occurred on February
l4, 2003. Kirby Aff., I 2. Plaintiff uses the date of February 4, 2003 in his
submissions, see Declaration in Support of Motion for Partial Summary Judgment,
filed Mar. 30, 2005 (“Rainer Partialv S.J. Decl.”), l 4, and7 that date is
corroborated by the documents attached to the complaint, including the grounds
raised in support of plaintiff's appeal of that disciplinary conviction to the
warden.

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the substance was shown to be cocaine. ( ee Kirby Aff.,
f 2; Wilson Aff., I 5.)11
7. The disciplinary board convicted Rainer of the

drug offense on February 4, 2003. The record does not
disclose the punishment imposed for that offense,

 

ll The submissions of the parties concerning this first disciplinary

hearing are not very illuminating. Defendant Kirby also states, in connection
with the February 4, 2003 hearing, that “[a]ll of the evidence was heard on the
case.” ida The plaintiff plainly disputes that assertion, although his precise
position is difficult to ascertain.

The plaintiff's declaration submitted in response to the summary
judgment motion emphasized that the defendants continued to pursue charges
against the plaintiff although the charges against Reginald Brown, the
plaintiff's cellmater “were dismissed” prior to the plaintiff's disciplinary
hearing,. Rainer Opposition Decl., l 5. To the extent the plaintiff is inferring
that the defendants voluntarily abandoned the charges against Brown in favor of
pursuing charges against the plaintiff, that position does not appear to be
supported by the documents submitted with the complaint, which indicate that
Brown was exonerated following a disciplinary hearing that was held prior to the
plaintiff's hearing. Thus, plaintiff's statement of grounds in support of his
appeal to the warden stated, inter alia, as follows:

[A]t the Disciplinary Hearing, both the appellant and Resident
Reginald Brown #119895 plead not guilty, Resident Reginald Brown
#119895 was exonerated of the disciplinary infraction-which means
“the evidence presented at the disciplinary hearing was believable,"
whereas the same plea was entered by the appellant-who had the Same
evidence presented for and against him#was believable, yet it was
used and applied arbitrarily to convict the appellant[.j

The record does not disclose whether the same disciplinary panel heard the
charges against plaintiff and Brown. The declaration plaintiff submitted in
opposition to the summary judgment motion suggests that plaintiff did not seek
to call his cellmate as a witness until the second disciplinary hearing. §ee
Rainer Opposition Decl., l 5.

ln the declaration submitted in support of his motion for partial
summary judgment, by contrast, the plaintiff takes a different position,
asserting that defendant Kirby refused his request to call his cellmate as a
witness at the first disciplinary hearing, Declaration in Support of Plaintiff’s
Motion for Partial Summary Judgment, submitted Mar. 30, 2005 (“Rainer Partial
S.J. Decl.”), ii 4-6, because he had been returned to the general population
following his disciplinary hearing.

The plaintiff also has taken inconsistent positions about whether
Wilson testified at the February 4, 2003 hearing or whether the disciplinary
board relied on his written report. In a declaration, the plaintiff stated that
“[t}he evidence at the hearing consisted solely of the written reports of the two
defendants [sic] officers and my testimony.” Rainer Partial S.J. Decl., l 7. ln
his statement of grounds for appeal to the warden from that conviction, however,
he stated: “On 2-4-03 we had a hearing on the disciplinary offenses[.] I pleaded
not guilty. Lt. Wilson was call[edj into the hearing and he stated what
happen[ed].”

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although the complaint asserts that restrictions were
imposed on visitation and packages. Plaintiff’s appeal to
the warden was denied on February l3, 2003. The TDOC
reversed the drug conviction and remanded. for a new
hearing before a new panel. (§§e Wilson Aff., l 5; Kirby
Aff., T 4.)12

8. On or about March l3, 2003, a new disciplinary
board was convened to re-hear the drug charge,
disciplinary no. 518156. Defendant Kirby was the chairman
of the panel, and the staff board members were Stan Paige
and Nadine Kiestler. The report hearing summary, a copy
of which is attached to the complaint, indicate that the
plaintiff signed a waiver of his right to call witnesses
at this hearing. The plaintiff was convicted on the basis
of the testimony of defendant Wilson, and he was
sentenced to the punishment that was imposed by the
previous board, consisting of two days punitive
segregation (which had already been served), a suspension
of his visitation privileges, restrictions on his ability
to receive packages, and drug testing. Any documents
concerning plaintiff's appeal to the warden are not part
of the record before the Court. The TDOC Commissioner
reversed on or about April 25, 2003, stating as follows:

The case is dismissed because the Remand
Order issued on 3/4/03 was not adhered to.
Order stated. that the case at the Remanded
Hearing was to be heard by a cjisciplinary
board consisting of new members. This did not
occur, as TOMIS LIBL Option l and the Hearing
Summary for the remanded hearing will attest
to. Same members heard the case.13

 

m Wilson and Kirby state in their affidavits that the drug conviction
was overturned “on a technicality,” but the Court is unable to accept that
characterization in the absence of some indication7 of the nature of the
“technicality.“ The plaintiff's declaration also does not clearly state the
reason why his original disciplinary conviction on the drug charge was
overturned. §§§ Rainer Opposition Decl., I 5. That information is also not set
forth in the documents attached to the complaint,

n Although Commissioner White's memorandunlis dated.March 25, 2003, the
plaintiff's appeal was dated April l5, 2003 and the Commissioner signed the form
and dated it April 25, 2003 but referred to the attachment as the basis for his
decision. lt appears likely, thereforer that the date of the Commissioner's
decision was April 25, 2003.

lt also appears that the description of the remand hearing as set
(continued...)

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9. ln the meantime, defendant Michael Ottinger,
who works in the internal affairs section at the WTSP,
conducted an internal investigation that resulted in the
issuance of a new disciplinary charge on February ll,
2004, alleging a violation of state law, relating to the
January 3l, 2003 incident. That write-up .is numbered
00519198. The record before the Court does not include
the documentation for the first hearing on that charge,
but it appears that the TDOC remanded the matter for a
hew hearing on March 16, 2003 for unspecified reasons.
The re-hearing occurred on March 3l, 2003. Defendant
Kirby was the chairman of the panel, and the staff board
members were Phillip Glenn and7 Bob Cabay. Defendant
Ottinger provided confidential information to the board
concerning the results of his investigation, and Reginald
Brown testified on plaintiff's behalf that the drugs must
have been planted by another inmate who had been with
Brown in the cell while the plaintiff was at visitation
and plaintiff had no knowledge of them. The board
convicted the plaintiff on the basis of the confidential
information presented by Ottinger. Plaintiff appealed to
the warden, who affirmed the board on April l4, 2003. He
appealed to the TDOC Commissioner, who ordered that the
charges be dismissed on May 5, 2003. The record does not
reflect the reason for the Commissioner’s decision,
although the plaintiff's statement in support of his
appeal suggests that the reason for the dismissal was the
fact that Kirby sat on the board that heard the charges
for the second time.

10. Any privileges taken from inmate Rainer due to
the reversed conviction were returned to him after the
case was dismissed. (Wilson Aff., I 6; Kirby Aff., l 5.)

ll. On March 20, 2003, Reginald Brown, TDOC number
119895, executed an affidavit that stated, in pertinent
part, as follows:

 

U (...continued)

forth in defendant Kirby's affidavit is substantially inaccurate. As will be
explained infra, defendant Kirby has apparently conflated the remand hearing on
disciplinary no. 518156 with the hearing in the second disciplinary charge issued
to the plaintiff arising out of the same incident. The plaintiff's submissions
make essentially the same errorr as Reginald White did not testify at either
hearing on disciplinary no. 518156, but he did testify at the disciplinary
hearing' for the subsequent write-up issued7 to the plaintiff for the same
incident.

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2. On or about January 3l, 2003, while
being housed in Unit llA, 55 cell, at
approximately 9:30 p.m.-at WTSP-, myself and
resident Marvin Rainer, T.D.O.C. #332ll4 was
housed together in the above-mentioned
UNlT/POD/CELL, when we were ordered to submit
to a strip search by Lt. Scott Wilson. While
the searching officer (Lt. Wilson), was
preoccupied in searching resident MARVIN
RAINER #332114, l dropped_ two (2) bags of
Cocaine behind the bed, and l pretended to be
stationary/static. l have a drug use problem,
and l was going to support my habit. Because
Lt. Wilson had7 his mind set on convicting
resident MARVlN RAINER #332114, l was never
afforded an opportunity to confess to my
drugs. No one every (really) assumed l was
involved in having the drugs.14

l2. A criminal information was returned against
inmate Rainer in Lauderdale County, Tennessee as a result
of the incident. (Wilson Aff., l 6.) Attached to the
complaint is a copy of a two-count indictment, dated June
2, 2003,r charging plaintiff with possession of a Schedule
ll controlled substance (cocaine/cocaine base} with
intent to deliver .5 grams or more, in violation of Tenn.
Code Ann. § 39-17-417, and possession of contraband in a
penal institution, in violation of Tenn. Code Ann. § 39-
l6-2Ol(a)(l).15 Defendant Ottinger is listed as the
prosecutor on the indictment. Those charges are
apparently still pending.

l3. At the time of the incident in question,
plaintiff had apparently been approved for release on
parole. The plaintiff attached a document to the
complaint froni the Tennessee Board of Probation and
Parole, entitled “Notice of Board Action,” dated June 27,

 

“ lt is not clear whether this affidavit was presented at the hearing

in disciplinary case no. 519198 on March7 31, 2003. An examination. of the
documents submitted with the complaint indicates that the substance of this
affidavit differs from the testimony offered by Brown at that hearing, where he
attributed the drugs to another inmate. The record does not disclose whether
Brown’s affidavit was available to the disciplinary board on March 3l, 2003. The
record also does not disclose whether Brown's affidavit, and his testimony on
March 3l, 2003, differ from the position he took at his own disciplinary hearing
arising out of this incident. gee supra p. 7 n.ll.

w The contraband charge referred to the drugs, not the cell phone.

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2003, that checks a box marked “Recommend Past Release
Date.” Other boxes labeled “No Job Waiver” and “Substance
Abuse Treatment at PO Discretion” are also checked.
Plaintiff also submitted an inmate inquiry, dated June 4,
2003, asking why the reversed disciplinary convictions
were still on his record. The response, dated June 17r
2003, stated that only the disciplinary for possession of
contraband (the cell phone), disciplinary no. 518144, was
on his record. Also attached to the complaint is a copy
of a. notice, entitled “Pre-Parole Rescission Hearing
Notice,” from7 the Tennessee Board of Probation and
Parole, dated September 3, 2003, advising plaintiff that
a hearing was scheduled on October 20, 2003. The notice
stated, in part, that “[o]ne result of the pre-parole
rescission hearing could. be that a new parole grant
hearing would be conducted at the conclusion of the pre-
parole rescission hearing. The parole grant hearing may
result in a decision to grant parole” (emphasis in
original). The plaintiff states in a declaration that, as
a result of the indictment, his parole date was
rescinded. Rainer Partial S.J. Aff., § 25.

Before addressing plaintiff's claims arising out of the
various disciplinary hearings, it is first necessary to address two
preliminary aspects of the plaintiff's complaint. First, although
not addressed in the defendants' motion, the law is clear that any
claim plaintiff seeks to assert against defendant Ottinger, or any
other defendant, arising out of the criminal prosecution in
Lauderdale County is premature. Because the criminal proceedings
have not been resolved in the plaintiff's favor, he may not obtain
money damages for any alleged wrongdoing in connection with the
filing of those charges. As the Supreme Court explained:

We hold that, in order to recover damages for allegedly
unconstitutional conviction or imprisonment, or for other
harm caused by actions whose unlawfulness would render a
conviction or sentence invalid, a § 1983 plaintiff must

prove that the conviction or sentence has been reversed
on direct appeal, expunged by executive order, declared

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invalid. by a state tribunal, authorized, to make such
determination, or called into question by' a federal
court's issuance of a writ of habeas corpus, 28 U.S.C. §
2254. A claim for damages bearing that relationship to a
conviction or sentence that has not been so invalidated
is not cognizable under § 1983. Thus, when7 a state
prisoner seeks damages in a § 1983 suit, the district
court must consider whether a judgment in favor of the
plaintiff would necessarily imply the invalidity of his
conviction or sentence; if it would, the complaint must
be dismissed unless the plaintiff can demonstrate that
the conviction or sentence has already been invalidated.
But if the district court determines that the plaintiff's
action, even if successful, will not demonstrate the
invalidity of any outstanding criminal judgment against
the plaintiff, the action should be allowed to proceed,
in the absence of some other bar to the suit.

Heck v. Humphrey, 512 U.S. 477, 486-87 (1994) (footnotes omitted};
Schilling v. White, 58 F.3d 1081, 1086 (6th Cir. 1995).
Accordingly, the Court DlSMlSSES the complaint, to the extent it
asserts claims arising out of the filing of state criminal charges,
pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii), for failure to state a
claim on which relief may be granted.

Second, plaintiff's claim arising out of the revocation
of his parole is also subject to dismissal. To the extent plaintiff
contends he was denied parole because of the disciplinary
convictions that were dismissed by order of the TDOC Commissioner,
the record indicates that those convictions were removed from the
plaintiff's record and did not affect the decision of the parole
board.

To the extent the plaintiff contends his parole was

revoked because of the pending state criminal charges, the

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complaint fails to state a claim on which relief may be granted
and, therefore, is subject to dismissal pursuant to 28 U.S.C. §
1915(e)(2)(B)(ii). As defendants have pointed out, prisoners have
no constitutional right to be released on parole before the
expiration of their sentences. Greenholtz v. lnmates of Neb. Penal
& Corr. Complex, 442 U.S. l, 7 (1979). Moreover, Tennessee's
statutory scheme places the decision to grant parole within the
complete discretion of the parole board and, as a result, inmates
have no state-created liberty interest in parole. §ee Wright v.
Trammell, 810 F.2d 589 (6th Cir. 1987) (per curiam) (Tennessee law
creates no liberty interest in parole).16 Moreover, because the
criminal charges have not been resolved in the plaintiff's favor,
any claim he has for the collateral damages arising from those
criminal charges, including the revocation of his parole, is

premature.17

 

w Tennessee courts have consistently interpreted Tennessee law as not
creating a liberty interest in parole decisions. See, e.g., Pipher v. Tennessee
Board of Parole, No. M2000-01509-COA-R3-CV, 2002 WL 31443204, at *3 (Tenn. Ct.
App. Nov. 1, 2002); Kaylor v. Bradley, 912 S.W.2d 728, 733 (Tenn. Ct. App. 1995);
Wells v. Tennessee Bd. of Paroles, 909 S.W.Zd 826 (1995).

The Supreme Court’s recent decision in Wilkinson v. Dotson, 125 S.
Ct. 1242 (2005), which authorized § 1983 challenges to the procedures used in
connection with denials of parole, is of no assistance to this plaintiff because
the parole board and its members are not parties to this action. Instead,
plaintiff sues only the WTSP officials involved with the cell search, the
disciplinary investigations, and the internal affairs investigation and
subsequent criminal charges. lf the plaintiff were to prevail in this lawsuit,
the Court could not direct that he be given a new parole hearing in which the
criminal charges were not considered.
" To the extent that plaintiff complains that criminal charges were
filed against him and not against Reginald Brown, he has no claim under § 1983.

 

Linda R. S. v. Richard D., 410 U.S. 614, 619 (1973) (“[A] private citizen lacks
a judicially cognizable interest in the prosecution or nonprosecution of
(continued...)

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With respect to plaintiff's claims arising from the
alleged due process violations at his six disciplinary hearings, it
is unclear, as a preliminary matter, just what plaintiff contends
those due process violations consist of in light of the vague and
inconsistent allegations in his various submissions.

Moreover, in light of the fact that the plaintiff's
disciplinary convictions did not result in the loss of sentence
credits or otherwise directly affect the length of this sentence,
it does not appear that the plaintiff has a valid due process claim
against he did not suffer a significant or atypical hardship.18 As
the Supreme Court explained in rejecting a due process challenge to
a prison disciplinary conviction:

Conner asserts, incorrectly, that any state action

taken for a punitive reason encroaches upon a liberty

interest under the Due Process Clause even in the absence
of any state regulation.

. We hold that Conner’s discipline in segregated
confinement did not present the type of atypical,
significant deprivation in which a state might
conceivably create a liberty interest.

Sandin v. Conner, 515 U.S. 472, 484, 486 (1995). Thus, an inmate

generally cannot maintain7 a due process claim. based on his

 

" (...continued)

another.”}.

w ln this case, the events of January 31, 2003 set in motion a chain
of events that led to the filing of criminal charges against him and the
recission of his parole. However, as previously noted, the dismissed disciplinary
charges had no bearing on the decision of the parole board, so the effect on the
defendant's sentence would appear to be unrelated to any due process deficiencies
in the proceedings before the various disciplinary boards.

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confinement in segregation,r particularly where, as here, he
suffered no loss of good-time credit. See Sarmiento v. Hemingway,
93 Fed. Appx. 65, 66 (6th Cir. Mar. 15, 2004) (“Generally, unless
placement in disciplinary confinement is accompanied by a
withdrawal of good time credits or is for a significant period of
time that presents an unusual hardship on the inmate, no interest
to remain free of disciplinary confinement will be found in the
case.”); Utley v. Campbell, 84 Fed. Appx. 627, 629 (6th Cir. Dec.
15, 2003) (“ln order to state a claim of a denial of due process
during a disciplinary hearing, Utley was required, and failed, to
show that he had been subjected to an atypical and significant
hardship.”); Williams v. Wilkinson, 51 Fed. Appx. 553, 556-57 (6th
Cir. Nov. 15r 2002), cert. denied, 539 U.S. 929 (2003); see also
Jones v. Baker, 155 F.3d 810 (6th Cir. 1998) {administrative
segregation); Mackey v. Dyke, 111 F.3d7 460 (6th Cir. 1997);
Brugqeman v. Paxton, No. 00-3917, 2001 WL 861678, at *1 (6th Cir.
June 30, 2001).19 ln this case, even the plaintiff's submissions
indicate he spent no more than forty-five (45) days in punitive
segregation as a result of the disciplinary charges, Rainer Partial

S.J. Decl., l 16, and the complaint contains no allegations that

 

3 The Sixth Circuit’s recent decision in Austin v. Wilkinson, 372 F.3d

346 (6th Cir.), cert. ranted, 125 S. Ct. 686 (2004) (No. 04-495), is not to the
contrary. ln Austin, the Sixth Circuit found that Ohio law created a liberty
interest with respect to placement in a supermax facility. ln so holding, the
Sixth Circuit emphasized that the conditions of confinement in the supermax
facility created a significant and atypical hardship within the meaning of
Sandin. ida at 353-55. That finding serves to distinguish the decision in Austin
from the cases cited in the text.

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the conditions suffered by inmates in punitive segregation
“impose[] atypical and significant hardship . . . in relation to
the ordinary incidents of prison life.” Conner, 515 U.S. at 484;
see also id; at 487.

Even if that were not the case, due process requires only
that some evidence be introduced in support of the decision of a
disciplinary board. §pperintendent, Massachusetts Correctional
lnstit., Walpole v. Hill, 472 U.S. 445, 455-57 (1985); Humphreys v.
Hemingway, 77 Fed. Appx. 788 (6th Cir. Sept. 15, 2003). As the
decisions of the disciplinary boards were supported by the
testimony of defendants Wilson and Hill, the requirements of due
process were satisfied.

For all the foregoing reasons, the Court GRANTS summary
judgment in favor of defendants Ottinger, Bates, Cabay, Steward,
Wilson, Gaskin, Glenn, Paige, and Kirby. The complaint is DISMISSED
with respect to these defendants.

The next issue to be addressed is whether plaintiff

should be allowed to appeal this decision i forma pauperis.

 

Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may not be
taken ip fppmp pauperis if the trial court certifies in writing
that it is not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in

good faith if the issue presented is frivolous. ld. The same

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considerations that lead the Court to dismiss this case for failure
to state a claim also compel the conclusion that an appeal would
not be taken in good faith.

lt is therefore CERTlFlED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not
taken in good faith and he may not proceed on appeal ip fppma
pauperis.

The final matter to be addressed is the assessment of a
filing fee if plaintiff appeals the dismissal of this case.20 ln
McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the plaintiff is instructed that if he wishes to
take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in
McGore and § 1915(b).

IT is so oRDERED this [fZ'H" day of May, 2005.

 

RN CE B. DONALD
NITED STATES DlSTRlCT JUDGE

 

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Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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ThiS notice confirms a copy of the document docketed as number 51 in
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Honorable Bernice Donald
US DISTRICT COURT

